       Case 8-17-71189-reg                Doc 71       Filed 01/12/18    Entered 01/12/18 10:33:53




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re:

DIANA CAMILLE HENNING                                                   Chapter 7
                                                                        Case No.: 17-71189-reg
                             Debtor,
--------------------------------------------------------------X

                          ORDER APPROVING RETENTION OF AUCTIONEER

       Upon the annexed application (the “Application”) of Richard L. Stern, Esq., as the Chapter
7 Trustee of the estate of (the “Debtors”), by their attorneys, Macco & Stern, LLP, seeking
authority to employ Maltz Auctions, Inc. as auctioneer (“Auctioneer”) for the sale of property
located at 511 Woodbury Rd., Cold Spring Harbor, NY 11724 in which the Estate possesses an
interest; upon the Affidavit of Richard B. Maltz, President of Maltz Auctions, Inc. and the Court
being satisfied, based upon the representations contained in the application, that the Auctioneer
does not hold or represent any interest adverse to this Estate, and is a disinterested person
within the meaning of 11 U.S.C.§101(14); and no notice of this Application being required under
Bankruptcy Rule 2014(a) it is,

       ORDERED, that under 11 U.S.C. §327 (a) and E.D.N.Y. LBR 6005-1(a), the Trustee is
authorized to employ Maltz Auctions, Inc. as auctioneer with respect to conducting a public
auction sale of the Estate’s interest in the property located at 511 Woodbury Rd., Cold Spring
Harbor, NY 11724,

      ORDERED, that the Auctioneer shall only receive commissions in the form of a buyer’s
premium in the amount of 5% of the gross sale price of the property and the estate shall not be
responsible to pay the Auctioneer any commission,

       ORDERED, that all fees and reimbursements of expenses to the Auctioneer shall be
subject to proper application and order of this Court pursuant to E.D.N.Y LBD 6005-1(b).

No Objection
Office of the U.S. Trustee
By_/S/ Stan Y. Yang 1/9/2018__




                                                                         ____________________________
  Dated: Central Islip, New York                                              Robert E. Grossman
         January 12, 2018                                                United States Bankruptcy Judge
